               Case 2:19-cr-00149-RAJ Document 31 Filed 09/22/20 Page 1 of 1




 1                                                              HONORABLE RICHARD A. JONES
 2
 3
                                UNITED STATES DISTRICT COURT
 4
                               WESTERN DISTRICT OF WASHINGTON
 5                                       AT SEATTLE

 6   UNITED STATES OF AMERICA,                            )   No. CR19-149 RAJ
                                                          )
 7                    Plaintiff,                          )
                                                          )   ORDER GRANTING
 8               v.                                       )   UNOPPOSED MOTION TO
                                                          )   PROCEED WITH SENTENCING
 9   JOEY A. MAILLET,                                     )   BY VIDEOCONFERENCE
                                                          )
10                    Defendant.                          )
                                                          )
11
            THIS COURT has considered Joey Maillet’s unopposed motion for the Court to
12
     issue a case-specific order allowing Mr. Maillet to proceed with sentencing via
13
     videoconference to avoid a “serious harm[] to the interests of justice.” See General
14
     Order No. 04-20 (3/30/2020); General Order No. 13-20 (9/4/2020), and for the reasons
15
     set forth in the unopposed motion finds good cause to proceed with sentencing via
16
     videoconference.
17
            IT IS NOW ORDERED that Defendant’s Unopposed Motion to Proceed Via
18
     Videoconference (Dkt. #30) is GRANTED. Mr. Maillet’s sentencing hearing shall
19
     proceed by videoconference on Wednesday, October 7, 2020, at 9:30 a.m.
20
            IT IS FURTHER ORDERED that Mr. Maillet be provided with headphones by
21
     the Federal Detention Center at SeaTac for that hearing.
22
            DATED this 22nd day of September 2020.
23
24                                                             A
25                                                             The Honorable Richard A. Jones
26                                                             United States District Judge


                                                                       FEDERAL PUBLIC DEFENDER
       ORDER TO PROCEED WITH SENTENCING                                   1601 Fifth Avenue, Suite 700
       HEARING BY VIDEOCONFERENCE                                           Seattle, Washington 98101
       (United States v. Maillet, No. CR19-149 RAJ) - 1                                (206) 553-1100
